537 U.S. 1102
    JOHNSONv.SMART &amp; FINAL STORES CORP.
    No. 02-7182.
    Supreme Court of United States.
    January 13, 2003.
    
      1
      CERTIORARI TO THE COURT OF APPEALS OF CALIFORNIA FOR THE SECOND APPELLATE DISTRICT.
    
    
      2
      Ct. App. Cal., 2d App. Dist.; Motion of petitioner for leave to proceed in forma pauperis denied. Petitioners are allowed until February 3, 2003, within which to pay the docketing fees required by Rule 38(a) and to submit petitions in compliance with Rule 33.1 of the Rules of this Court.
    
    